






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00442-CV






In re Healthy Innovations, Inc. and Kevin C. Serafini






ORIGINAL PROCEEDING FROM TRAVIS COUNTY




M E M O R A N D U M   O P I N I O N



		The Motion of Relators Healthy Innovations, Inc. and Kevin C. Serafini to Dismiss
Petition for Writ of Mandamus is granted.  This petition is dismissed.



						                                                                                    

						G. Alan Waldrop, Justice

Before Justices Patterson, Pemberton and Waldrop

Filed:   June 25, 2009


